Case 4:20-cv-00896-ALM-KPJ Document 8 Filed 12/02/20 Page 1 of 2 PageID #: 54




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  MICHAEL MOATES, individually and                §
  on behalf of DC CHRONICLE,                      §
                                                  §
          Plaintiffs,                             §
                                                  §       Civil Action No.: 4:20-cv-896-ALM-KPJ
  v.                                              §
                                                  §
  FACEBOOK INC., et al.,                          §
                                                  §
          Defendants.                             §

                                              ORDER

       On November 30, 2020, the Court entered an Order (Dkt. 7), wherein it granted Plaintiff

Michael Moates’ (“Plaintiff”) Motion to Proceed In Forma Pauperis (Dkt. 3) and ordered the Clerk

of the Court to serve Defendants a copy of Plaintiff’s Amended Complaint (Dkt. 5), Motion for

Temporary Restraining Order (Dkt. 6), and the Order (Dkt. 7). To provide further clarity,

       IT IS HEREBY ORDERED that Plaintiff shall prepare service of process on the named

Defendants in accordance with the Federal Rules of Civil Procedure and the Local Rules for the

Eastern District of Texas. Plaintiff shall prepare service of process no later than fourteen (14)

days after receiving this Order.

       IT IS FURTHER ORDERED that the Clerk of the Court shall issue process and the

United States Marshall shall serve process upon the Defendants. The Clerk of the Court and United

States Marshall shall also ensure Defendants are served with a copy of Plaintiff’s Motion for

Temporary Restraining Order (Dkt. 6) and the Court’s Order (Dkt. 7).

       IT IS FURTHER ORDERED that the failure by Plaintiff to comply with the orders

contained herein shall result in dismissal of this lawsuit.




                                                  1
Case 4:20-cv-00896-ALM-KPJ Document 8 Filed 12/02/20 Page 2 of 2 PageID #: 55



     So ORDERED and SIGNED this 2nd day of December, 2020.




                                   ____________________________________
                                   KIMBERLY C. PRIEST JOHNSON
                                   UNITED STATES MAGISTRATE JUDGE




                                      2
